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     TINA RICHARDSON
21   as successor-in-interest
     to Decedent Caleb Slay
22
                                UNITED STATES DISTRICT COURT
23
                           FOR THE WESTERN DISTRICT OF MISSOURI
24

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                                                PG. 1                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
               Case 6:23-cv-03337-RK Document 32 Filed 03/14/24 Page 1 of 8
 1   TINA RICHARDSON, individually and as              CASE NO.: 6:23-cv-03337-RK
     successor-in-interest to Decedent Caleb Slay,     (Honorable District Judge Roseann A.
 2
                                  Plaintiff,           Ketchmark)
 3
            vs.                                        PLAINTIFF’S SUGGESTIONS IN
 4                                                     OPPOSITION TO DEFENDANT UNITED
     UNITED STATES OF AMERICA;                         STATES MOTION TO SUBSTITUTE
 5   ANTHONY GASPERONI, individually and               UNITED STATES AS PARTY-DEFENDANT
     in his official capacity as an agent for the
 6
     United      States     Drug       Enforcement
 7   Administration;        JOHN          STUART,      Complaint Filed: October 31, 2023
     individually and in his official capacity as an
 9   agent for the United States Drug
     Enforcement Administration; DOES 1-20,
10   inclusive, individually and in their official
     capacity as agents for the United States Drug
11
     Enforcement Administration; CITY OF
12   SPRINGFIELD, a municipal entity; C.
     NUCCIO, individually and in his official
13   capacity as sergeant for the Springfield
     Police Department; and DOES 21-40,
14   inclusive, individually and in their official
15   capacity as police officers for the Springfield
     Police Department,
16
                                  Defendants.
17

18

19   TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR COUNSEL OF

20   RECORD:

21          Plaintiff, Tina Richardson (hereinafter “Plaintiff”), by and through her counsel of record,

22   hereby submits the following Suggestions to the Court in Opposition to Defendant United States’

23 Motion to Substitute the United States as Party-Named Defendant on Plaintiff’s State Law Claims

24   for Negligent Wrongful Death, Assault and Battery, Intentional Infliction of Emotional Distress,

25   and Negligence. These Suggestions in Opposition shall be based upon the Federal Rules of Civil

26   Procedure, West District of Missouri Local Rules, and the Orders of this Court. These Suggestions

27   in Opposition are further based upon the attached Memorandum of Points and Authorities; upon

28


                                                PG. 2                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
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 1
     the records and files in this action; and upon such further evidence and argument as may be
 2
     presented prior to or at the time of hearing the motion.
 3

 4   Dated: March 13, 2024                         BURRIS NISENBAUM CURRY & LACY

 5
                                                           /s/ Julia N. Quesada
 6                                                         John L. Burris
                                                           DeWitt M. Lacy
 7
                                                           Julia N. Quesada
 9                                                         Lena P. Andrews

10                                                         Attorneys for Plaintiff,
                                                           Tina Richardson
11

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                                                PG. 3                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
               Case 6:23-cv-03337-RK Document 32 Filed 03/14/24 Page 3 of 8
 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2                                          INTRODUCTION

 3          This civil rights action against the United States of America, DEA Agent Anthony

 4 Gasperoni, DEA Agent John Stuart, and DOES 1 through 20 (hereinafter collectively “U.S.

 5 Defendants”), and the City of Springfield, Sergent C. Nuccio, and DOES 21 through 40

 6 (hereinafter collectively “City Defendants”), was brought pursuant to violations of Title 42 U.S.C

 7 §§ 1983, and 1988; the Fourth and Fourteenth Amendments to the United States Constitution; Title

 9 28 U.S.C. § 2671, Federal Torts Claims Act; Bivens v. Six Unknown Named Agents, 403 U.S. 388

10 (1971); Wrongful Death under Missouri Revised Statute § 537.080; and under the common law of

11 Missouri. The claims arise from the egregious shooting and killing of Decedent Caleb Slay by

12 DEA Agent Anthony Gasperoni, as well as the actions and omissions by DEA Agent John Stuart,

13 and Springfield Police Sergeant C. Nuccio, on November 2, 2020. Decedent Caleb is survived by

14 his mother, Tina Richardson.

15          It is undisputed that all parties to this action have been properly served with summons.

16 However, Defendant United States now moves to substitute and designate the United States as

17 party-defendant in the stead of Defendants Gasperoni and Stuart, in both their individual and

18 official capacities, on Plaintiff’s state law causes of action, pursuant to 28 U.S.C. section

19 2679(d)(1). (Dkt. No. 28.) The causes of action which the United States seeks to be substituted in

20 as party-defendant are Plaintiff’s Sixth Cause of Action for Negligent Wrongful Death, Seventh

21 Cause of Action for Assault and Battery, Eighth Cause of Action for Intentional Infliction of

22 Emotional Distress, and Ninth Cause of Action for Negligence. (Id.) (See also Dkt. No. 1.) The

23 United States contends that the Certification made by the First Assistant United States Attorney

24 for the Western District of Missouri, Jeffrey P. Ray, (Dkt. No. 28-1), is sufficient to establish the

25 scope of employment which DEA Agent Defendants Gasperoni and Stuart were working at the

26 time of the incident.

27

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                                                PG. 4                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
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 1
            Plaintiff submits that the related state common law intentional torts, and statutory
 2
     violations for negligence and wrongful death pursuant to Missouri Revised Statute section
 3
     537.080, are properly plead against Defendants Gasperoni and Stuart because whether the acts and
 4
     omissions of Defendants Gasperoni and Stuart were committed within the scope of their
 5
     employment as federal DEA agents is a disputed question of material fact and the Certification
 6
     made thereto is subject to judicial review. As such, this Court should deny the United States’
 7
     Motion to Substitute as Party-Defendant for Plaintiff’s state law causes of action against
 9
     Defendants Gasperoni and Stuart.
10
                                         STATEMENT OF FACTS
11
            The facts giving rise to this action are set forth in Plaintiff’s Complaint filed with this Court
12
     on October 31, 2023. (See generally Dkt. No. 1) (See also Declaration of Julia N. Quesada
13
     (hereinafter “Quesada Decl.”), ⁋ 2). In the late afternoon on November 2, 2020, Decedent Caleb
14
     Slay (hereinafter “Decedent Caleb”) was parked out front of his home in Springfield, Missouri,
15
     when two unmarked DEA vehicles pulled up and parked in front of his house. Id. The two DEA
16
     Agents, Anthony Gasperoni and John Stuart, were surveilling the area. Id.
17
            As Decedent Caleb began walking up his driveway to the front door of his house,
18
     Defendant Gasperoni ordered Decedent Caleb to stop, and Decedent Caleb complied. (Quesada
19
     Decl. ⁋ 3). Decedent Caleb informed Defendant Gasperoni of his legal firearm, then slowly
20
     extended both hands out in front of his body showing Defendant Gasperoni that he was not holding
21
     any weapon and did not pose any threat. Id.
22
            During this interaction, Defendant Gasperoni took hold of Decedent Caleb’s wrists while
23
     Defendant Stuart approached from behind without any warning. (Quesada Decl. ⁋ 4). Defendant
24
     Stuart grabbed Caleb and one of the Defendant Agents, and Decedent Cale, fell to the ground. Id.
25
     While the Defendant Agent and Decedent Caleb were on the ground, Defendant Gasperoni
26
     deployed his taser against Decedent Caleb’s neck. Id. Defendant Gasperoni then took out his
27
     firearm and without warning fired at least three bullets at Decedent Caleb, striking Decedent Caleb
28
     in the head twice. Id.

                                                PG. 5                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
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 1
             Springfield Police Officers were dispatched to the scene after reports of shots fired.
 2
     (Quesada Decl. ⁋ 5). Springfield Police Department Sergeant, C. Nuccio (hereinafter “Defendant
 3
     Nuccio”) was one of the first officers on scene after the shooting. Id.
 4
             Defendant Nuccio approached Decedent Caleb who was visibly bleeding from the head
 5
     and severely injured. (Quesada Decl. ⁋ 6). Defendant Nuccio made the determination that
 6
     Decedent Caleb did not have a pulse and did not require immediate medical attention. Id.
 7
     Consequently, Defendant Nuccio prevented emergency medical responders from immediately
 9
     rendering aid and life saving measures to Decedent Caleb. Id. Emergency medical personnel were
10
     permitted to tend to Decedent Caleb several minutes later and, contrary to Defendant Nuccio’s
11
     initial determination, a low pulse was found. Id. Decedent Caleb succumbed to injuries and died
12
     in his front yard. Id.
13
             Defendant Gasperoni works in conjunction with the Springfield Police Department
14
     (“SPD”) and has an assigned credential number (# 503951) and badge number. (Quesada Decl. ⁋
15
     7, Ex. A at 3). At the time of this encounter, Defendants Gasperoni and Stuart were assisting a
16
     local law enforcement task force. (Quesada Decl. ⁋ 7, Ex. A at 3) (Quesada Decl. ⁋ 8, Ex. B at 3).
17
     Defendants Gasperoni’s and Stuart’s involvement were initiated by City of Springfield Task Force
18
     Officer, Nick Mittag (“TFO Mittag”). Id. TFO Mittag contacted Defendants Gasperoni and Stuart
19
     for assistance with mobile surveillance. Id. Defendants Gasperoni and Stuart were surveilling a
20
     red car in a Wal-Mart parking lot for several minutes before they followed the car to a residential
21
     street where Decedent Caleb lived. (Quesada Decl. ⁋ 7, Ex. A) (Quesada Decl. ⁋ 8, Ex. B). When
22
     Defendants Gasperoni and Stuart made contact with the drivers of the subject cars, Defendant
23
     Stuart announced “police” as he approached and was wearing a vest that said “police” on it.
24
     (Quesada Decl. ⁋ 8, Ex. B at 10-12). Defendants Gasperoni and Stuart were wearing plain clothes
25
     at the time of the incident, they were assisting SPD Task Force doing local law enforcement
26
     functions. Id.
27

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                                                PG. 6                    Case No.: 6:23-cv-03337-RK
      PLAINTIFF’S SUGGESTIONS IN OPPOSITION TO DEFENDANT UNITED STATES’ MOTION TO SUBSTITUTE
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 1
             Thus, there are questions of fact as to whether Defendants Gasperoni and Stuart were
 2
     acting within their scope and employment with the DEA. As such, United States’ Motion to
 3
     Substitute as Party-Defendant for Defendants Gasperoni and Stuart as to Plaintiff’s state law
 4
     causes of action should be denied.
 5
                                                ARGUMENT
 6
            “The remedy against the United States ... for injury ... from the negligent or wrongful act
 7
     of any employee of the Government while acting within the scope of his office or employment is
 9
     exclusive....” 28 U.S.C. § 2679(d)(1). The immunity is triggered when the Attorney General or his
10
     designate certifies that federal employees have been sued for conduct within the scope of their
11
     employment. Brown v. Armstrong, 949 F.2d 1007, 1010 (8th Cir. 1991). “Upon certification ... the
12
     United States shall be substituted as the party defendant.” 28 U.S.C. § 2679(d)(1). “When the
13
     government moves for substitution, the Attorney General's certification, although subject to
14
     judicial review, is prima facie evidence that the employee's challenged conduct was within the
15
     scope of employ. Therefore, the burden of altering that status quo is on the plaintiff, who must
16
     come forward with specific facts rebutting the government's scope-of-employment certification.”
17
     Brown v. Armstrong, 949 F.2d 1007, 1010 (8th Cir. 1991) (internal quotations omitted). “To rebut
18
     the certification and obtain discovery, a plaintiff must alleg[e] sufficient facts that, taken as true,
19
     would establish that the defendant['s] actions exceeded the scope of [his] employment... If a
20
     plaintiff meets this pleading burden, he may, if necessary, attain limited discovery to resolve any
21
     factual disputes over jurisdiction.” Taylor v. Clark, 821 F.Supp.2d 370, 373 (D.D.C. 2011)
22
     (internal quotations omitted), citing, Wuterich v. Murtha, 562 F.3d 375, 380 (D.C.Cir.2009); see
23
     also Osborn v. Haley, 549 U.S. 225, 229 (2007).
24
            Here, Plaintiff maintains that there is a genuine dispute of material facts as to whether
25
     Defendants Gasperoni and Stuart were acting within the scope of their employment with the DEA.
26
     Specifically, Defendants Gasperoni and Stuart were both called by a Springfield Task Force
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     Officer, TFO Mittag. Defendants Gasperoni and Stuart were surveilling a red car as part of the
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                                                PG. 7                    Case No.: 6:23-cv-03337-RK
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 1
     mobile surveillance initiated by the local task force. Neither Defendant Gasperoni, nor Defendant
 2
     Stuart encountered Decedent Caleb while out on assignment for the DEA, they were assisting local
 3
     law enforcement. Moreover, Defendant Gasperoni, although a DEA agent, works for the
 4
     Springfield Police Department and operates under an assigned SPD credential number and badge
 5
     number. Similarly, Defendant Stuart was wearing a body vest that was marked as “police” and
 6
     further announced himself as “police” during the encounter. There remain questions of fact as to
 7
     whether the acts and omissions of Defendants Gasperoni and Stuart were acting within their scope
 9
     of employment with the DEA at the time they encountered Decedent Caleb and exercised lethal
10
     force. Therefore, the United States should not be substituted as Party-Defendant for Plaintiff’s
11
     state law claims against Defendants Gasperoni and Stuart.
12
                                             CONCLUSION
13
             Based on the foregoing, Plaintiff respectfully requests that this Court deny the United
14
     States’ Motion to Substitute as Party-Defendant in the stead of Defendants Gasperoni and Stuart
15
     as to Plaintiff’s state law claims.
16
                                                 Respectfully submitted,
17
     Dated: March 13, 2024                       BURRIS NISENBAUM CURRY & LACY
18

19
                                                 By: /s/ Julia N. Quesada
20                                                       JOHN L. BURRIS
                                                         BEN NISENBAUM
21                                                       DeWITT M. LACY
22                                                       JULIA N. QUESADA
                                                         LENA P. ANDREWS
23
                                                         Attorneys for Plaintiff,
24                                                       Tina Richardson
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                                                PG. 8                    Case No.: 6:23-cv-03337-RK
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